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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

VIRGINIA GODEK, an individual,                       )
                                                     )
                              Plaintiff.             )
                                                     )
               v.                                    )             Case No. 1:16-cv-4993
                                                     )
ILLINOIS DEPARTMENT OF INSURANCE,                    )
                                                     )
                              Defendant.             )

                    PLAINTIFF’S REPLY TO DEFENDANT
       ILLINOIS DEPARTMENT OF INSURANCE’S AFFIRMATIVE DEFENSES

       NOW COMES the Plaintiff VIRGINIA GODEK by and through her attorneys, Lavelle

Law, Ltd., and for her Reply to Defendant, ILLINOIS DEPARTMENT OF INSURANCE’S

Affirmative Defenses to the Complaint, hereby states as follows:

       1.      At all relevant times, Defendant maintained and followed policies prohibiting

discrimination, including policies related to Title VII, and Plaintiff failed to effectively take

advantage of Defendant’s protective measures outlined within these policies.

       ANSWER: Deny.

       2.      Defendant had legitimate, non-discriminatory reasons for its employment actions

concerning Plaintiff.

       ANSWER: Deny.

       3.      Plaintiff’s allegations under Title VII are barred to the extent that the conduct

alleged did not occur within 300 days of filing of her charge of discrimination.

       ANSWER: Deny.
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          4.        Plaintiff’s allegations are barred to the extent they are not like or reasonably related

to the allegations contained in her charge of discrimination filed with the EEOC.

          ANSWER: Deny.

          5.        Any pay differential in favor of male workers is based on factors other than sex.

          ANSWER: Deny.

          6.        Plaintiff’s recovery of back pay under the Equal Pay Act, if any, is limited to two

years preceding Plaintiff’s filing of this lawsuit.

          ANSWER: Deny.

          7.        Plaintiff’s claim under the Illinois Equal Pay Act of 2003, 802 ILCS 112/1 et seq.,

is barred by the State Immunity Act, 745 ILCS 5/1 et seq.

          ANSWER: Deny.

          WHEREFORE, Plaintiff prays that this Honorable Court deny Defendant, Illinois

Department of Insurance’s Affirmative Defenses and enter judgment in Plaintiff’s favor and

against Defendant and for any other relief that this Court deems just and equitable.



                                                              Respectfully Submitted,
                                                              VIRGINIA GODEK


                                                              Heidi A. Kuffel
                                                              One of her Attorneys
Lance C. Ziebell 6298037
Heidi A. Kuffel 6313935
Lavelle Law, Ltd.
501 W. Colfax
Palatine, IL 60067
(847) 705-7555 (T)
lziebell@lavellelaw.com
hkuffel@lavellelaw.com
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